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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    NORTHERN DIVISION

JEROME KENDALL BROOKS                                        PLAINTIFF

v.                       No. 3:21-cv-00245-DPM

SHANE ROGERS, Supervisor,
Newport Police Department;
MARK HARMONY, Detective,
Newport Police Department;
MATTHEW DUVALL, Detective,
Newport Police Department;
CYNTHIA BRANDON, Field
Officer, Department of Human
Services                                                 DEFENDANTS

                                ORDER
     1. Brooks hasn't paid the $402 filing and administrative fees or
filed an application to proceed in forma pauperis. He must do one or the
other by 7 January 2022. If he doesn't, then his case will be dismissed
without prejudice. LOCAL RULE 5.5(2).
     2. The Court directs the Clerk to mail Brooks an application to
proceed in forma pauperis. If the Court grants him permission to proceed
in forma pauperis, then the administrative fee will be waived, but Brooks
will have to pay the $350 filing fee in monthly installments taken from
his prisoner account. 28 U.S.C. § 1915(b).
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So Ordered.


                            D.P. Marshall (r.
                            United States District Judge




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